






Opinion issued May 1, 2003


		

						







In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01205-CV

____________


CHARLES RAY EDWARDS, Appellant


V.


LEE P. BROWN, Appellee






On Appeal from the 1333rd District Court

Harris County, Texas

Trial Court Cause No. 02-29342






MEMORANDUM  OPINION

	According to information provided by the district clerk, this is an appeal from
a judgment signed on August 1, 2002.  The notice of appeal was filed on September 
26, 2002. 

	On December 18, 2002, the Court issued an order stating as follows:

This Court's records do not affirmatively show that appellant has paid
the appellate filing fee of $125.  See Tex. R. App. P. 5; Order Regarding
Fees Charged in Civil Cases in the Supreme Court and the Courts of
Appeals, Misc. Docket No. 98-9120 (Tex. July 21, 1998) Tex. Gov't
Code Ann. 51.207(a) (Vernon Supp. 2000).  Each party or parties filing
a notice of appeal are required to pay the appellate filing fee.  Unless
within 15 days of the date of this Order appellant pays such filing fee to
the Clerk of this Court, the appeal will be dismissed.  See Finley v. J.C.
Pace Ltd., 4 S.W.3d 319, 321-22 (Tex. App.- Houston [1st Dist.] 1999)
(order); Negrini v. Smith, Nelson &amp; Clement P.C., 998 S.W.2d 362, 363
(Tex. App.- Houston [1st Dist.] 1999, no pet.).  


	To date, appellant has not paid the filing fee.

	Accordingly, appellants' appeal is dismissed for want of prosecution. 
See Tex. R. App. P. 5; 42.3(b). 

PER CURIAM

Panel consists of Justices Taft, Keyes, and Higley.


